        Case: 1:21-cr-00080-MWM Doc #: 20 Filed: 10/06/21 Page: 1 of 1 PAGEID #: 68



AO 4SS (Rev. 01/09) Waiver of an Indictment


                                      UNITED STATES DISTRICT COURT
                                                         for the
                                                Southern District of Ohio

                  United Stutes of America                  )
                                v.                          )     Case No. 1 :21-cr-00080
                                                            )
                       TONI WAIGHT                          )
                            Defendant                       )

                                              WAIVER OF AN INDICTMENT

         I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court ofmy rights and the nature of the proposed charges against me.

        After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date:     ([) -'{- ZJ




                                                                             '-...signature ofdefendant's oltorney

                                                                                   RICHARD MONAHAN
                                                                              Printed name ofdefendant's aJtomey




                                                                                       Judge's signature

                                                                            HON. MATTHEW W. McFARLAND
                                                                                 Judge 's prlnJed 11ame and title
